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 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    DENISE L. BRADLEY, et al.,                       No. 2:17-cv-2313-KJM-AC

12                       Plaintiffs,                   ORDER

13           v.
14    COUNTY OF SAN JOAQUIN, et al.,
15                       Defendants.
16

17                  On May 7, 2018, defendants filed this motion to dismiss portions of the Bradley’s

18   second amended complaint (“SAC”) on several grounds. For the reasons set forth below, the

19   court GRANTS the motion in part and DENIES in part.

20   I.     BACKGROUND

21          A.      Factual Background

22                  On November 1, 2016, decedent Keenan Bradley, Jr. was present at the apartment

23   complex located at 3525 W. Benjamin Holt Drive in Stockton, California. SAC ¶ 18, ECF

24   No. 26-1. Keenan was in the process of leaving the apartment complex between 9:30 and 10:18

25   p.m. Id. ¶ 26. Defendant Michael Knight is a deputy sheriff for San Joaquin County. Id. ¶¶ ix,

26   29. On and before November 1, 2016, Knight resided in an apartment in the complex at 3525 W.

27   Benjamin Holt Drive. Id. ¶¶ 27-28. While Keenan was leaving the complex, Knight was

28   engaged in an illicit transaction in the parking lot. Id. ¶¶ ix, 28. Keenan was a bystander to some
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 1   part of this transaction. Id. ¶ 43. During Knight’s illicit transaction, Knight drew a concealed
 2   handgun and declared his status as law enforcement before issuing a command. Id. ¶¶ 30-31.
 3   Knight commanded individuals to “get down.” Id. ¶ 30. Knight then fired the handgun at
 4   individuals in the parking area, striking and fatally wounding Keenan. Id. ¶¶ 37, 39, 41, 58.
 5                  Two witnesses attempted to render aid to Keenan. Id. ¶¶ 51, 55-56. Knight then
 6   asserted authority over the area by purporting to act in his law enforcement capacity and secure
 7   the scene, preventing the witnesses’ continuation of care to Keenan. Id. ¶ 60. Knight did not
 8   attempt to render medical care to Keenan himself. Id. ¶ 59. Knight made at least one phone call
 9   to someone, not identified in the complaint, stating “that he had shot at four individuals, that he
10   hit two and that three got away.” Id. ¶ 58. An ambulance arrived approximately fifteen minutes
11   after the shooting. Id. ¶ 53. By 10:45 p.m., a police “Do Not Cross” line existed, and plaintiff
12   Denise Bradley, Keenan’s mother, was not permitted to enter the area. Id. ¶¶ 70-71. According
13   to the death certificate, Keenan died at 11:14 p.m. Id. ¶ 72.
14                  At or about 12:00 a.m., the San Joaquin County Sheriff’s Department “engaged a
15   U-Haul truck, brought it to” Knight’s apartment behind the “Police Do Not Cross” area, and
16   removed “all of his belongings, permanently removing [Knight] from the apartment.” Id. ¶ 73.
17                  Defendant Steve Moore is the Sheriff-Coroner for San Joaquin County. Id. ¶ viii.
18   Moore “worked in concert” with Knight “to distort facts and come up with a false narrative” to
19   “facilitate their cover-up of the events that culminated . . . with the unlawful killing of [Kennan],
20   including falsification of the . . . account of the incident (through Knight) and the timeline,”
21   witness tampering and evidence tampering. Id. ¶ 74. The investigation into the incident is
22   ongoing. Id. ¶¶ 78, 82.
23                  Before the shooting, Keenan had no problems with law enforcement. Id. ¶ 1. He
24   was not the target of any pending investigation, and there was no warrant or probable cause for
25   his arrest. Id. Keenan did not possess a firearm. Id. ¶ 14. Keenan was not a member or affiliate
26   of a criminal gang. Id. ¶ 15. On the night of the incident, Keenan was at the complex and was
27   visiting friends who lived in the complex at 3525 W. Benjamin Holt Drive. Id. ¶¶ 18-19, 24. At
28   the time of the incident, Keenan was leaving the complex to take his cousin to work, as he did
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 1   routinely. Id. ¶¶ 20-23. Knight allegedly found a firearm near Keenan, picked up the firearm and
 2   “placed [it] under [Knight’s] arm.” Id. ¶ 61. But an official investigation revealed “an absence of
 3   gunshot residue on [Keenan’s] person,” and Keenan’s fingerprints “were not found on any
 4   [firearm] allegedly found near the location of the fatal shooting where [Keenan] died.” Id. ¶¶ 62-
 5   63.
 6           B.      Procedural Background
 7                   Plaintiff Denise Bradley filed the initial complaint on November 3, 2017, both
 8   individually and as the personal representative of Keenan. ECF No. 1. Defendants previously
 9   filed two motions to dismiss plaintiffs’ initial and first amended complaints. See ECF Nos. 1, 16,
10   12, 21. Following the filing of the first motion, the parties stipulated to plaintiffs’ filing an
11   amended complaint, and the court denied the motion as moot amended filings. See ECF Nos. 15-
12   17. Following the filing of the second motion, plaintiffs requested leave to file a second amended
13   complaint; the court denied the second motion to dismiss as moot in light of plaintiffs’ second
14   amended complaint. ECF Nos. 21, 22-24, 26, 35. Plaintiffs later filed a corrected second
15   amended complaint, the operative complaint, on April 24, 2018. ECF No. 26-1.
16                   Defendants move to dismiss portions of the operative second amended complaint.
17   Mot., ECF No. 31. Plaintiffs oppose (Opp’n ECF No. 36), and defendants have replied, Reply,
18   ECF No. 37. The court resolves this motion below.
19   II.     LEGAL STANDARD
20           A.      Motion to Dismiss
21                   A party may move to dismiss for “failure to state a claim upon which relief can be
22   granted.” Fed. R. Civ. P. 12(b)(6). The court may grant the motion only if the complaint lacks a
23   “cognizable legal theory” or if its factual allegations do not support a cognizable legal theory.
24   Hartmann v. Cal. Dep’t of Corr. & Rehab., 707 F.3d 1114, 1122 (9th Cir. 2013). A complaint
25   must contain a “short and plain statement of the claim showing that the pleader is entitled to
26   relief,” Fed. R. Civ. P. 8(a)(2), though it need not include “detailed factual allegations.” Bell Atl.
27   Corp. v. Twombly, 550 U.S. 544, 555 (2007). This “sufficient factual matter” must make the
28   claim at least plausible. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Conclusory or formulaic
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 1   recitations of elements do not alone suffice. Id. (citing Twombly, 550 U.S. at 555). In the
 2   analysis, the court must accept well-pleaded factual allegations as true and construe the complaint
 3   in a light most favorable to the plaintiff. Id.; Erickson v. Pardus, 551 U.S. 89, 93-94 (2007).
 4                  Plaintiffs need not satisfy a heightened pleading standard when seeking damages
 5   for violations of constitutional rights under § 1983. See Johnson v. City of Shelby, Miss., 135 S.
 6   Ct. 346, 347 (2014) (citing Leatherman v. Tarrant Cty. Narcotics Intelligence & Coordination
 7   Unit, 507 U.S. 163, 164 (1993) (a federal court may not apply a standard “more stringent than the
 8   usual pleading requirements of Rule 8(a)” in “civil rights cases alleging municipal liability”)). A
 9   plaintiff need only plead facts sufficient to show that their claim has substantive plausibility. Id.
10          B.      Leave to Amend
11                  The court should freely give leave to amend pleadings when justice so requires.
12   Fed. R. Civ. P. 15(a)(2). The Ninth Circuit has a policy of favoring amendments. See Ascon
13   Props., Inc. v. Mobil Oil Co., 866 F.2d 1149, 1160 (9th Cir. 1989). “In exercising its discretion
14   [to grant or deny leave to amend,] ‘a court must be guided by the underlying purpose of Rule
15   15—to facilitate [a] decision on the merits rather than on the pleadings or technicalities.’” DCD
16   Programs, Ltd. v. Leighton, 833 F.2d 183, 186 (9th Cir. 1987) (quoting United States v. Webb,
17   655 F.2d 977, 979 (9th Cir. 1981)). But “the liberality in granting leave to amend is subject to
18   several limitations. Those limitations include undue prejudice to the opposing party, bad faith by
19   the movant, futility, and undue delay.” Cafasso, US ex rel. v. Gen. Dynamics C4 Sys., Inc., 637
20   F.3d 1047, 1058 (9th Cir. 2011) (internal quotation marks and citation omitted). “Further, ‘[t]he
21   district court’s discretion to deny leave to amend is particularly broad where plaintiff has
22   previously amended the complaint.’” Id. (citations omitted).
23   III.   ANALYSIS
24          A.      Color of State Law and Scope of Employment
25                  Defendants contend plaintiffs have not sufficiently alleged that Knight acted under
26   color of state law to state a claim under § 1983. Mot. at 7-8. Defendants further assert Knight
27   was not acting in the scope of his employment, as required by plaintiffs’ state law claims. Id. at
28   16. In opposition, plaintiffs cite the relevant allegations of the second amended complaint to
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 1   rebut defendants’ contentions. Opp’n at 15-16, 21-22. For the reasons below, the court finds that
 2   plaintiffs have sufficiently pleaded Knight’s conduct was under color of state law and that he was
 3   acting within the scope of his employment.
 4                  1.      Color of State Law (Federal Claims)
 5                  There is no “rigid formula” for determining whether a state or local law official is
 6   acting under color of state law, a required element of a § 1983 claim. Anderson v. Warner, 451
 7   F.3d 1063, 1068 (9th Cir. 2006) (citing Ouzts v. Md. Nat’l Ins. Co., 505 F.2d 547, 550 (9th Cir.
 8   1974)). “State employment is generally sufficient to render the defendant a state actor.” Id.
 9   (citing West v. Atkins, 487 U.S. 42, 48 (1988) (internal quotations and alterations omitted)).
10   Whether an “officer is acting under color of state law turns on the nature and circumstances of the
11   officer’s conduct and the relationship of that conduct to the performance of his official duties.”
12   Id. (citing Martinez v. Colon, 54 F.3d 980, 986 (1st Cir. 1995)). “Misuse of power, possessed by
13   virtue of state law and possible only because the wrongdoer is clothed with the authority of state
14   law, is action taken ‘under the color’ of state law.” Id. (citing United States v. Classic, 313 U.S.
15   299, 326 (1941)). “It is firmly established that a defendant in a § 1983 suit acts under color of
16   state law when he abuses the position given to him by the State.” Id. (citing Atkins, 487 U.S. at
17   49-50).
18                  The Ninth Circuit requires at least three criteria be satisfied to determine an
19   individual was acting under color of state law. McDade v. West, 223 F.3d 1135, 1140 (9th Cir.
20   2000). First, the defendant’s acts must have been “performed while the officer [was] acting,
21   purporting, or pretending to act in the performance of his or her official duties.” Id. Second, the
22   officer’s pretense of acting in the performance of his duties must have had the purpose and effect
23   of influencing the behavior of others. See Van Ort v. Estate of Stanewich, 92 F.3d 831, 839-40
24   (9th Cir. 1996) (finding no color of state law because, under both accounts of events, victim
25   opened door before victim recognized officer in plain clothes, and officer did not purport to act as
26   a policeman). Third, the challenged conduct must be “related in some meaningful way either to
27   the officer’s governmental status or to the performance of his duties.” Anderson, 451 F.3d at
28   1069 (citing Martinez, 54 F.3d at 987).
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 1                  Here, plaintiffs allege Knight “announced his status as a Deputy Sheriff and yelled
 2   ‘get down, get down’” as he drew his firearm, then fired several shots. SAC ¶¶ 30-31. From the
 3   time Knight invoked his law enforcement status going forward, Knight was purporting to act in
 4   performance of his official duties. See id. ¶ 60 (alleging Knight “prevented [Keenan] from
 5   receiving medical care by asserting authority over the scene and procuring the false impression
 6   that he was acting to obtain medical care for [Keenan]”); id. ¶ 61 (alleging Knight picked up a
 7   firearm “allegedly found near [Keenan]” as Knight “purport[ed] to act within the course and
 8   scope of his employment”). When a witness asked Knight to call the police and medical
 9   assistance, “Knight stated that he was the police.” Id. ¶ 57 (emphasis in original).
10                  Plaintiffs also have alleged that Knight’s assertion of his law enforcement status
11   had the purpose and effect of influencing the behavior of others. See id. ¶¶ 30, 41-42, 44-45
12   (Knight announcing his law enforcement status, shouting “get down, get down,” Keenan walking
13   away from Knight’s area before being fatally wounded, and other individuals running away from
14   area after shooting began); see also id. ¶¶ 57, 60 (Knight informing witness he “was the police”
15   when witness asked Knight to call police and medical aid; Knight “prevented [Keenan] from
16   receiving medical care by asserting authority over the scene and procuring the false impression
17   that he was acting to obtain medical care for [Keenan]”); id. ¶ 92 (alleging “[t]he conduct of the
18   [d]efendants was willful, fraudulent, malicious, oppressive and in reckless disregard [of] the
19   constitutional rights of [Keenan] and plaintiffs . . . .”). Knight’s repeated invocation of his law
20   enforcement status facilitated his conduct because it permitted him to retain control of the scene
21   before and after the arrival of other law enforcement. See id. ¶¶ 60, 73-75.
22                  Knight’s conduct as alleged was related to his status and performance of duties as
23   a law enforcement officer. Among his other statements in connection with the night Keenan was
24   killed, Knight has asserted “he was the victim of an assault immediately before he shot and killed
25   [Keenan].” SAC ¶ ix. Plaintiffs’ allegations of Knight’s invoking his law enforcement status,
26   drawing his firearm and directing others to get down, all construed as required in favor of
27   plaintiffs, indicate Knight conveyed the impression he sought to detain or arrest someone as
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 1   permitted by the California Penal Code, including sections 833.51 and 836(a).2 See also Cal.
 2   Penal Code § 835a (“Any peace officer who has reasonable cause to believe that the person to be
 3   arrested has committed a public offense may use reasonable force to effect the arrest, to prevent
 4   escape or to overcome resistance.”). Additionally, Knight’s invocation of his law enforcement
 5   status after the shooting was related to Knight’s duties as a law enforcement officer to control and
 6   investigate a crime scene. See SAC ¶¶ 60-61, 73-75.
 7                    Defendants seek to distinguish the case of Tsao v. Desert Palace, Inc., 698 F.3d
 8   1128, 1141 (9th Cir. 2012), on which plaintiffs rely. See Opp’n at 15; Reply at 2-3. Although
 9   Tsao is factually distinct because that case involved the actions of a private casino’s security
10   guard, the security guard’s behavior in “purport[ing] to act on behalf of the state from the outset
11   of the encounter,” is similar to Knight’s identifying himself as a police officer here before the
12   shooting and then later throughout the incident. See SAC ¶¶ 30-31, 57, 60; see also Traver v.
13   Meshriy, 627 F.2d 934, 938 (9th Cir. 1980) (finding off-duty officer working as “security teller”
14   who “flashed his police identification at [plaintiff], . . . and introduced himself as a police officer
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16            California Penal Code section 833.5(a), in pertinent part, permits a peace officer to
     detain someone if the officer “has reasonable cause to believe that a person has a firearm or other
17   deadly weapon with him or her in violation of any provision of law relating to firearms or deadly
     weapons.”
18

19          2
                Section 836(a) reads as follows:
20                    (a) A peace officer may arrest a person in obedience to a warrant, or,
                      pursuant to the authority granted to him or her by Chapter 4.5
21                    (commencing with Section 830) of Title 3 of Part 2, without a
                      warrant, may arrest a person whenever any of the following
22                    circumstances occur:
23                    (1) The officer has probable cause to believe that the person to be
                      arrested has committed a public offense in the officer’s presence.
24
                      (2) The person arrested has committed a felony, although not in the
25                    officer’s presence.
26                    (3) The officer has probable cause to believe that the person to be
                      arrested has committed a felony, whether or not a felony, in fact, has
27                    been committed.
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 1   before instructing [plaintiff] to sit down on the platform” were “indicia of state action” that
 2   “compel the conclusion that [off-duty officer] was acting” under color of state law).
 3                  Plaintiffs’ allegations in the second amended complaint also are similar to the facts
 4   in Anderson, 451 F.3d at 1065-69. There, an off-duty correctional officer who was out of
 5   uniform was involved in a car accident with another automobile and subsequently assaulted the
 6   driver of the other automobile. Id. at 1065-67. After the assault, the officer kept bystanders from
 7   assisting the other driver by invoking his status as a “cop,” directing others to “stay back,” and by
 8   claiming he was engaged in “police business.” Id. at 1065-66. The Ninth Circuit held the officer
 9   acted under color of law when assaulting the other driver because “he invoked his law
10   enforcement status to keep bystanders from interfering with his assault on [the victim].” Id. at
11   1068. The Ninth Circuit found the first two criteria for acting under color of law were satisfied
12   because the officer stated he was in law enforcement and caused bystanders not to interfere after
13   he had assaulted the other driver. Id. at 1069. The Ninth Circuit also found the harm inflicted on
14   the other driver had a “sufficiently close relationship to the officer’s governmental status or to the
15   performance of his duties” because the officer “invoked his [governmental] status” to “influence
16   the behavior of those around him.” Id. (internal quotation marks and citation removed). These
17   facts are similar to plaintiffs’ allegations here, that Knight invoked his law enforcement status to
18   yell at others to “get down” before shooting and again invoked his law enforcement status when
19   asked to contact police and medical aid, “asserting authority over the scene.” SAC ¶¶ 30-31, 57,
20   60.
21                  Defendants also challenge the second amended complaint’s allegation that
22   Knight’s possession of a concealed handgun was based solely on his status as a law enforcement
23   official. See SAC ¶ 30 (“Knight drew a concealed handgun, which he was only permitted to do
24   [under] [California] Penal Code § 25450 . . . .”).3 But the court must accept plausible factual
25
            3
26            California Penal Code § 25400 addresses penalties for carrying a concealed firearm.
     Section 25450 provides exclusions for peace officers from application of § 25400:
27
                    As provided in this article, Section 25400 does not apply to, or affect,
28                  any of the following:
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 1   allegations as true, and defendants do not demonstrate that plaintiffs’ allegations are implausible,
 2   stating only that “California law allows many other individuals, in addition to peace officers, to
 3   carry concealed weapons.” Reply at 2 (citing Cal. Pen. Code § 25505, et seq.; id. § 25600, et
 4   seq.). Defendants do not contend any other statutory provisions apply to Knight, however.
 5   Plaintiffs’ allegation regarding Knight’s concealed carry status further supports their pleading that
 6   Knight acted under color of state law.
 7                  In sum, plaintiffs have sufficiently alleged Knight was acting under color of state
 8   law.
 9                  2.      Scope of Employment (State Law Claims)
10                  To determine scope of employment under California law, the determinative factor
11   is whether a party committed an allegedly offending act in the course of carrying out the
12   employer’s business. Smithen v. United States, No. CV 09-414-GW(PJWx), 2016 WL 9051797,
13   at *5 (C.D. Cal. Feb. 25, 2016) (citing Pelletier v. Fed. Home Loan Bank, 968 F.2d 865, 876 (9th
14   Cir. 1992). “[A]n employer is vicariously liable for his employee’s torts committed within the
15   scope of the employment.” Perez v. Van Groningen & Sons, Inc., 41 Cal. 3d 962, 967 (1986).
16   Courts may find vicarious liability for unauthorized or prohibited conduct if the risk of that
17
                    (a) Any peace officer, listed in Section 830.1 or 830.2, or subdivision
18                  (a) of Section 830.33, whether active or honorably retired.
19                  (b) Any other duly appointed peace officer.
20                  (c) Any honorably retired peace officer listed in subdivision (c) of
                    Section 830.5.
21
                    (d) Any other honorably retired peace officer who during the course
22                  and scope of his or her appointment as a peace officer was authorized
                    to, and did, carry a firearm.
23
                    (e) Any full-time paid peace officer of another state or the federal
24                  government who is carrying out official duties while in California.
25                  (f) Any person summoned by any of these officers to assist in making
                    arrests or preserving the peace while the person is actually engaged
26                  in assisting that officer.
27   Cal. Penal Code § 25450.
28
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 1   conduct is one “typical of or broadly incidental to the enterprise undertaken by the employer.” Id.
 2   at 968 (citing Rodgers v. Kemper Constr. Co., 50 Cal. App. 3d 608, 619 (1975)) (internal
 3   quotation marks omitted). Essentially, the employer’s liability extends beyond its actual or
 4   possible control of the employee to include risks inherent in or created by the enterprise. Id. An
 5   employer is not vicariously liable where the employee has substantially deviated from his duties
 6   for personal purposes. Id. (citing Hinman v. Westinghouse Elec. Co., 2 Cal. 3d 956, 960 (1970)).
 7   Whether an employee has acted within the scope of his employment is ordinarily a question of
 8   fact reserved for the jury; it becomes a question of law only where “the facts are undisputed and
 9   no conflicting inferences are possible.” Lisa M. v. Henry Mayo Newhall Mem’l Hosp., 12 Cal.
10   4th 291, 299 (1995) (quoting Mary M. v. City of Los Angeles, 54 Cal. 3d 202, 213 (1991)).
11                  Here, plaintiffs successfully allege that Knight acted within the scope of his
12   employment once he invoked his status as a law enforcement officer, issued commands, shot
13   Keenan and relied on his law enforcement status to take control of the scene after discharging his
14   weapon seven times. SAC ¶¶ 30-31, 39, 57, 60. Additionally, plaintiffs allege Moore and other
15   San Joaquin County Sheriff’s personnel responding to the scene coordinated with Knight in the
16   aftermath of the incident, further supporting an inference that Knight’s conduct was within the
17   scope of his employment. SAC ¶¶ 73-74. Plaintiffs have sufficiently alleged Knight was acting
18   within the scope of his employment from the moment he invoked his law enforcement status
19   going forward in time.
20                  Plaintiffs rely on Inouye v. County of Los Angeles, 30 Cal. App. 4th 278 (1994), to
21   support their position that an off-duty officer can act within the scope of his employment under
22   California law. In that case, a police officer finished his shift, returned his County-issued firearm
23   to a weapons locker under County policy, removed a personally-owned firearm from the weapons
24   locker and placed it in a holster on his belt. Id. at 280. The officer then left work in his pickup
25   truck. Id. Plaintiff encountered the officer’s truck on a highway, attempted to ram the truck from
26   behind and run it off the road, then pulled in front of the officer and stopped abruptly. Id.
27   Plaintiff then walked to the officer’s truck and started yelling through the officer’s driver’s side
28   window. Id. The officer decided to arrest plaintiff “to determine whether he was under the
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 1   influence of alcohol or drugs,” identified himself as a police officer and told plaintiff to freeze.
 2   Id. Plaintiff smashed the window. Id. The officer drew his firearm, identified himself again as a
 3   police officer and told plaintiff to freeze; plaintiff made a motion as if reaching for a weapon, and
 4   the officer shot plaintiff multiple times. Id. The California Court of Appeal found the officer
 5   “was indisputably acting in the scope of his employment . . . at the time [plaintiff] was shot,” and
 6   plaintiff was “entitled to proceed against the County under the doctrine of respondeat superior.”
 7   Id. at 284-85.
 8                    In certain ways Knight acted similarly to the officer in Inouye: he identified
 9   himself as a police officer, drew his firearm and issued commands. Compare SAC ¶ 30 (yelling
10   “get down, get down”), with Inouye, 30 Cal. App. 4th at 280 (telling plaintiff to “freeze”).
11   Defendants attempt to distinguish Inouye from the allegations here, contending plaintiffs only
12   “allege [Knight] was engaging in an illegal transaction,” not a use of force after a decision to
13   arrest. Mot. at 8 n.5; see Reply at 7-8. Construing the factual allegations and all reasonable
14   inferences in favor of plaintiffs, the court finds Knight’s drawing of a concealed firearm,
15   identifying himself as an officer and commanding others to “get down” signaled Knight sought to
16   detain or arrest someone before he fired his firearm. See SAC ¶¶ 30-31.
17                    Plaintiffs have sufficiently pleaded Knight was acting within the scope of his
18   employment for the purposes of his state law claims against the County of San Joaquin.
19          B.        Seizure: Fourth Amendment
20                    Defendants primarily argue that plaintiffs identify Keenan as a bystander only, and
21   thus invalidate their seizure claim under the Fourth Amendment. Mot. at 9-10. Plaintiffs assert
22   defendants misread the second amended complaint, in which plaintiffs have pleaded that Knight
23   intentionally shot and killed Keenan, Keenan was merely a bystander to the events before the
24   shooting and plaintiffs may plead in the alternative. Opp’n at 16-17. For the reasons below, the
25   court finds the plaintiffs have sufficiently pleaded the intentional seizure of Keenan to state a
26   Fourth Amendment claim.
27                    “[T]here can be no question that apprehension by the use of deadly force is a
28   seizure subject to the reasonableness requirement of the Fourth Amendment.” Tennessee v.
                                                        11
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 1   Garner, 471 U.S. 1, 7 (1985). “It has long been clear that ‘[a] police officer may not seize an
 2   unarmed, nondangerous suspect by shooting him dead.’” A.K.H. by and through Landeros v. City
 3   of Tustin, 837 F.3d 1005, 1013 (9th Cir. 2016) (citing Garner, 490 U.S. at 11). But an innocent
 4   bystander not subject to intentionally applied force cannot state an excessive force claim. See
 5   Brower v. County of Inyo, 489 U.S. 593, 596-97 (1989) (reasoning that “a Fourth Amendment
 6   seizure does not occur whenever there is a governmentally caused termination of an individual’s
 7   freedom of movement (the innocent passerby), nor even whenever there is a governmentally
 8   caused and governmentally desired termination of an individual’s freedom of movement (the
 9   fleeing felon), but only when there is a governmental termination of freedom of movement
10   through means intentionally applied.”).
11                  Here, plaintiffs plead that Knight shot at Keenan: Knight drew a concealed firearm
12   and yelled to “get down, get down.” SAC ¶ 30. “After announcing his presence and status as a
13   Deputy Sheriff, [Knight] fired, shooting [Keenan][] in the back, killing him.” Id.
14   ¶ 31. And “Knight stated to someone he was speaking to on the telephone that he shot at four
15   individuals, that he hit two and that three got away.” Id. ¶ 58. Plaintiffs further allege
16   defendants’ conduct “was willful, fraudulent, malicious, oppressive and in reckless disregard for
17   the constitutional rights of [Keenan] and [p]laintiffs . . . .” Id. ¶ 92. Drawing all reasonable
18   inferences in favor of plaintiffs, the court finds plaintiffs have pleaded Knight intentionally shot at
19   Keenan—the only one of four individuals Knight “shot at” who did not get away. See id.
20                  Defendants’ incomplete citation to one paragraph of the complaint to assert
21   plaintiffs only allege Keenan was a bystander omits the additional allegation that Keenan was a
22   bystander “to the events that led to [Knight] discharging his weapon,” and does not rebut
23   plaintiffs’ other allegations in the complaint. See Reply at 4 (referencing SAC ¶ 43). Taken
24   together and read fairly, plaintiffs’ allegations are that the Keenan was a bystander to Knight’s
25   “sales of merchandise on the black market,” but Knight intentionally shot at Keenan. See SAC ¶¶
26   28, 31, 58.
27                  Paragraph 58 of the second amended complaint also distinguishes this case from
28   cases defendants rely on, including Kong Meng Xiong v. City of Merced, No. 1:13-CV-00083-
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 1   SKO, 2015 WL 4598861, at *10-12 (E.D. Cal. July 29, 2015). In Xiong, the court found “no
 2   evidence the officers fired upon [the intended target] to seize any group that [the bystander
 3   plaintiff] was with, and there [was] no evidence the officers intended to seize anyone except [the
 4   intended target].” Id. at *11. The court noted a plaintiff’s assertion that officers “observed a
 5   group of people on the other side of the fence [from the intended target], [but] the [assertion was]
 6   a mischaracterization of the officers’ testimony.” Id. Here, the complaint alleges Knight “stated
 7   . . . he had shot at four individuals, that he hit two and that three got away.” SAC ¶ 58. In this
 8   way, this case is distinguishable from Xiong and closer to the Ninth Circuit’s opinion in Nelson v.
 9   City of Davis, 685 F.3d 867, 876-77 (9th Cir. 2012), in which the Circuit observed officers
10   “intentionally fired” shots from pepper spray launchers “in the direction of” a group of students.
11   In Nelson, the Circuit rejected officers’ argument that plaintiff “was not individually targeted by
12   officers,” reasoning that argument “misapprehends the distinction between intentional and
13   unintentional conduct that the Supreme Court has repeatedly held as determinative of the Fourth
14   Amendment analysis.” Id. at 876. Thus, even if Knight only intentionally shot at the group of
15   four individuals, see SAC ¶ 58, plaintiffs state an excessive force claim.
16                  Defendants rely on multiple other cases that also do not persuade the court
17   plaintiffs have failed to state a Fourth Amendment excessive force claim. For instance,
18   defendants cite to Logan v. City of Pullman, 392 F. Supp. 2d 1246, 1260 (E.D. Wash. 2005), in
19   which plaintiffs on the second floor of a two-story building exposed to pepper spray from
20   officers’ intentionally deploying the spray on the first floor were not “the deliberate and intended
21   object of the [officers’] use of [pepper spray]” and therefore not “seized” under the Fourth
22   Amendment. And in Rodriguez v. City of Fresno, 819 F. Supp. 2d 937, 943, 945-48 (E.D. Cal.
23   2011), the court found no seizure under the Fourth Amendment where an officer “voluntarily
24   drew his side arm, aimed at what he thought was [the intended target], and volitionally pulled the
25   trigger,” hitting both the intended target with one shot and plaintiff with one shot. In Rodriguez,
26   the court observed plaintiff did not allege any facts “that significantly differentiate this case from
27   other cases involving an innocent bystander struck by police fire that is targeted at a third
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 1   person.” Id. at 948. These cases are distinct from the allegations here, where plaintiffs plead that
 2   Knight intentionally shot at four individuals, including Keenan. See SAC ¶ 58.
 3                  Plaintiffs direct the court’s attention to their pleading that Knight’s conduct, along
 4   with other defendants, was “willful.” See id. ¶ 92. Although that allegation alone is conclusory,
 5   the paragraph further bolsters the conclusion plaintiffs have plead Knight intentionally shot at
 6   Keenan. See Screws v. United States, 325 U.S. 91, 101 (1945) (reasoning “the word [willful]
 7   denotes an act which is intentional rather than accidental”).
 8                  Plaintiffs’ allegations that Knight shot recklessly at the four or five individuals
 9   nearest him in the complex parking lot do not justify dismissing plaintiffs’ Fourth Amendment
10   excessive force claim at this stage because plaintiffs remain free to plead alternative theories of
11   liability. See Unified Western Grocers, Inc. v. Twin City Fire Ins. Co., 457 F.3d 1106, 1114 (9th
12   Cir. 2006) (“It is commonplace under liberal pleading rules for complaints to assert alternative
13   theories of liability.”); see SAC ¶ 37 (alleging Knight “fired the firearm recklessly”).
14          C.      Municipal Liability
15                  Defendants contend plaintiffs fail to state a municipal liability claim in part
16   because plaintiffs “have not alleged facts” supporting the causation element, and have failed “to
17   allege a County policy or custom caused their harm” or that a final policymaker’s ratification
18   caused plaintiffs’ injury. Mot. at 13-17. In opposition, plaintiffs contend defendant Moore, “who
19   held final policymaking authority from the County ratified [Knight’s] actions and . . . Knight’s
20   actions resulted from his acting [under] an expressly adopted official County policy or a
21   widespread or longstanding practice or custom of the County.” Opp’n at 19-21; SAC ¶¶ viii, 76,
22   91, 93, 97, 99, 111-13. For the reasons below, the court DENIES dismissal as to the municipal
23   liability claim, while granting plaintiffs leave to amend their municipal liability allegations to
24   plead any insufficiently pleaded theories, as explained below.
25                  Section 1983 imposes liability on “persons” who, under color of law, deprive
26   others of a constitutional right. 42 U.S.C. § 1983. Courts may hold municipalities liable as
27   “persons” under § 1983, but not for the unconstitutional acts of their employees based solely on a
28   respondeat superior theory. Monell v. Dep’t of Soc. Servs. of City of N.Y., 436 U.S. 658, 690-95
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 1   (1978). Rather, a plaintiff seeking to impose liability on a municipality under § 1983 is required
 2   “to identify a municipal ‘policy’ or ‘custom’ that caused the plaintiff’s injury.” Bd. of Cty.
 3   Comm’rs v. Brown, 520 U.S. 397, 403 (1997). To sufficiently plead a Monell claim and
 4   withstand a Rule 12(b)(6) motion to dismiss, allegations in a complaint “may not simply recite
 5   the elements of a cause of action, but must contain sufficient allegations of underlying facts to
 6   give fair notice and to enable the opposing party to defend itself effectively.” AE ex rel.
 7   Hernandez v. Cty. of Tulare, 666 F.3d 631, 637 (9th Cir. 2012) (quoting Starr v. Baca, 652 F.3d
 8   1202, 1216 (9th Cir. 2011)).
 9                   A Monell claim may be stated by relying on three theories of municipal liability:
10   (1) when official policies or established customs inflict a constitutional injury; (2) when
11   omissions or failures to act amount to a local government policy of deliberate indifference to
12   constitutional rights; or (3) when a local government official with final policy-making authority
13   ratifies a subordinate’s unconstitutional conduct. Clouthier v. Cty. of Contra Costa, 591 F.3d
14   1232, 1249-50 (9th Cir. 2010), overruled on other grounds by Castro v. Cty. of Los Angeles, 833
15   F.3d 1060, 1070 (9th Cir. 2016). Plaintiffs have alleged claims under all three theories. See SAC
16   ¶¶ viii, 76, 79-82, 91, 93, 97, 99, 111-13. As explained below, plaintiffs have sufficiently alleged
17   a claim under the third ratification theory of liability.
18                   1.      Policy or Custom
19                   To state a claim under Monell for an unconstitutional policy or custom, a party
20   must identify the challenged policy or custom, explain how it was deficient, explain how it caused
21   the plaintiff harm, and reflect how it “amounted to deliberate indifference, i.e.[,] explain[] how
22   the deficiency involved was obvious and the constitutional injury was likely to occur.” Young v.
23   City of Visalia, 687 F. Supp. 2d 1141, 1149 (E.D. Cal. 2009) (examining Lee v. City of Los
24   Angeles, 250 F.3d 668, 682 (9th Cir. 2001)); see Dougherty v. City of Covina, 654 F.3d 892, 900-
25   01 (9th Cir. 2011) (affirming dismissal where plaintiff failed to allege “any facts demonstrating
26   that his constitutional deprivation was the result of a custom or practice of the [defendant city] or
27   that the custom or practice was the ‘moving force’ behind his constitutional deprivation”). In
28   other words, a plaintiff must plead (1) that the plaintiff “possessed a constitutional right of which
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 1   [he or she] was deprived; (2) that the municipality had a policy; (3) that this policy amounts to
 2   deliberate indifference to the plaintiff's constitutional right; and, (4) that the policy is the moving
 3   force behind the constitutional violation.” Plumeau v. Sch. Dist. No. 40 Cnty. of Yamhill, 130
 4   F.3d 432, 438 (9th Cir. 1997) (internal quotation marks and citation omitted).
 5                    Here, the complaint puts forth mostly conclusory allegations of a “deficient policy
 6   and deficiencies in policy covering dealings with informants and department members like
 7   Knight dealing in illicit activities . . . .” SAC ¶ 99. Similarly, plaintiffs contend the individual
 8   defendants acted under “a widespread or longstanding practice or custom of the County of San
 9   Joaquin and or the San Joaquin County Sheriff’s Department.” Id. ¶ 91. Plaintiffs also contend
10   “the defendant knew her/its failure to implement adequate policies . . . made it highly predictable
11   that San Joaquin County employees would engage in” unconstitutional conduct. Id. ¶ 93.
12                    Plaintiffs do allege a “Code of Silence” that Moore “enforces as the Sheriff” and
13   “Knight follows, to distort the facts and come up with a false narrative,” to “facilitate their cover-
14   up of the events that culminated” in “the unlawful killing of [Keenan],” including the falsification
15   of the [San Joaquin Sheriff Office’s] account of the incident . . . the timeline, the suppression and
16   concealment of and tampering with witnesses to the shooting, and the destruction, concealment
17   and suppression of evidence pertaining to the shooting of [Keenan].” Id. ¶ 74.
18                    But plaintiffs do not state how this “Code of Silence” amounted to deliberate
19   indifference or how that policy was “the moving force” behind the constitutional violation here.
20   Plumeau, 130 F.3d at 438; compare Cunningham v. Gates, 229 F.3d 1271, 1280 (9th Cir.
21   2000), as amended (Oct. 31, 2000) (observing plaintiffs’ contention that “policies allow police
22   officers to escape accountability for their unconstitutional acts of excessive force” and that
23   relevant “officers knowingly rely on [those] policies and practices when committing unlawful
24   acts of excessive force”), with SAC ¶ 99 (alleging “the deficient policy and deficiencies in [San
25   Joaquin Sheriff’s Office] policy were the moving force behind the unlawful shooting and killing
26   of [Keenan]”).
27                    Without “sufficient factual matter” to make the claim at least plausible, Iqbal, 556
28   U.S. at 678, plaintiffs have failed to state a municipal liability claim based on an official policy or
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 1   custom. Plaintiffs’ other allegations outlined above are no more than recitations of the elements
 2   of a claim and give no notice of plaintiffs’ theory of liability here. See, e.g., Mello v. Cty. of
 3   Sacramento, No. 2:14-CV-02618-KJM, 2015 WL 1039128, at *3 (E.D. Cal. Mar. 10, 2015)
 4   (observing “the complaint does no more than recite one or another signal phrases”; granting
 5   motion to dismiss with leave to amend).
 6                  2.      Omissions or Failures to Act
 7                  A municipality’s failure to train its employees may amount to a policy of
 8   deliberate indifference. See Price v. Sery, 513 F.3d 962, 973 (9th Cir. 2008). To state a claim for
 9   failure to train, a plaintiff must show (1) “the existing training program” is inadequate “in relation
10   to the tasks the particular [employees] must perform”; (2) the officials have been deliberately
11   indifferent “to the rights of persons with whom [employees] come into contact”; and (3) the
12   inadequacy of the training “actually caused the deprivation of the alleged constitutional
13   right.” Merritt v. Cty. of L.A., 875 F.2d 765, 770 (9th Cir. 1989) (internal citations and quotation
14   marks omitted); see also Connick v. Thompson, 563 U.S. 51, 60-62 (2011) (“A pattern of similar
15   constitutional violations by untrained employees is ‘ordinarily necessary’ to demonstrate
16   deliberate indifference for purposes of failure to train”).
17                  According to plaintiffs, Moore as a supervisor “permitted and failed to prevent the
18   unconstitutional acts of other Defendants and individuals under his supervision and control, and
19   failed to properly supervise such individuals, with deliberate indifference to the rights of”
20   Keenan. SAC ¶ 79. Additionally, plaintiffs allege “failure to train adequately or acquiescence in
21   certain longstanding customs or practices made it highly predictable that San Joaquin County
22   employees would engage in conduct that would deprive persons such as the plaintiffs of their
23   rights, but the defendant failed to take reasonable measures to address her/its acts or omissions
24   and the risks of harm.” Id. ¶ 93. Moore also allegedly “acquiesced in the acts and omissions of
25   Knight, knowing that such conduct would result in” deprivation of plaintiffs’ constitutional rights.
26   Id. ¶ 95. Again, none of these allegations alleges sufficient facts about the existing training San
27   Joaquin Sheriff’s Department deputies undergo, much less facts about how this training was
28   inadequate or how the inadequate training caused the deprivation of plaintiffs’ constitutional
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 1   rights. Nor have plaintiffs alleged “sufficient factual matter” as to any pattern of similar
 2   constitutional violations within the San Joaquin Sheriff’s Department. Iqbal, 556 U.S. at 678.
 3                   3.      Ratification
 4                   A plaintiff may claim Monell liability where an “official with final policy-making
 5   authority ratified a subordinate’s unconstitutional decision or action and the basis for it.” Gillette
 6   v. Delmore, 979 F.2d 1342, 1346-47 (9th Cir. 1992). “A policymaker’s knowledge of an
 7   unconstitutional act does not, by itself, constitute ratification.” Christie v. Iopa, 176 F.3d 1231,
 8   1239 (9th Cir. 1999). Furthermore, “a policymaker’s mere refusal to overrule a subordinate’s
 9   completed act does not constitute approval.” Id. Rather, ratification requires the authorized
10   policymaker to make a “conscious, affirmative choice.” Gillette, 979 F.2d at 1347. Ratification
11   “and thus the existence of a de facto policy or custom, can be shown by a municipality’s post-
12   event conduct, including its conduct in an investigation of the incident.” Dorger v. City of Napa,
13   No. 12-cv-440 YGR, 2012 WL 3791447, at *5 (N.D. Cal. Aug. 31, 2012) (emphasis in
14   original) (discussing Henry v. Cty. of Shasta, 132 F.3d 512, 518 (9th Cir. 1997)). After proving
15   ratification occurred, a plaintiff must also show that the ratification was (1) the cause in fact, and
16   (2) the proximate cause of the constitutional deprivation. Arnold v. Int’l Bus. Machines Corp.,
17   637 F.2d 1350, 1355 (9th Cir. 1981).
18                   Plaintiffs have alleged Moore was a final policymaker. See SAC ¶¶ viii, 97, 111.
19   Additionally, plaintiffs have sufficiently alleged more than a mere failure to discipline Knight.
20   True, plaintiffs have repeatedly recited the element that an “official with final policy-making
21   authority ratified a subordinate’s unconstitutional decision or action and the basis for it.”
22   Compare Gillette, 979 F.2d at 1346-47, with SAC ¶¶ 76, 97, 111-13. They also allege a failure to
23   impose discipline on Knight. See SAC ¶ 76. But plaintiffs have alleged more than this failure to
24   impose discipline; plaintiffs have alleged Moore, as “the Sheriff-Coroner, by means of his control
25   over the medical examiners for the county, . . . is complicit in impeding the flow of information
26   to” plaintiffs “and the public about the true nature of the events . . . .” Id. ¶ 80. Plaintiffs have
27   alleged Moore, by “exert[ing] undue influence on the investigation of this case and on those who
28   are engaged in the investigation of this case,” has done so “in an effort to conceal, cloud, falsify
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 1   and obfuscate the truth and the evidence to falsely exonerate Knight and himself as part of his
 2   ratification of the actions of Knight.” Id. ¶ 81. Specifically, plaintiffs allege Moore “ratified the
 3   acts and decisions of defendant Knight and the bases for those acts and decisions by using his
 4   influence as the Sheriff-Coroner to”:
 5                  (1) delay the autopsy and the release of the autopsy report;
 6                  (2) influence the substance of the autopsy report;
 7                  (3) delay the OCIC investigation into the shooting and killing of
                    [Keenan]; and
 8
                    (4) ignore and suppress the involvement of the other parties to the
 9                  transaction with Defendant Knight, who were, according to Knight,
                    engaged in a felony assault with a deadly weapon and assault on a
10                  peace officer, but who have not been pursued, arrested, or charged
                    with any crime due, in part, to Defendant Moore’s influence.
11

12   Id. ¶ 82 (modification in brackets).
13                  Plaintiffs allege these actions, including withholding “investigative reports and
14   other information from [plaintiffs]” is motivated “to conceal the truth and to protect [Moore] and
15   the [San Joaquin Sheriff’s Office] from liability and accountability.” Id. ¶¶ 83-84. The court
16   finds these allegations sufficiently pleaded. See, e.g., Malott v. Placer Cty., No. 2:14–CV–1040
17   KJM EFB, 2014 WL 6469125, at *9 (E.D. Cal. Nov. 17, 2014) (finding sufficient plaintiff’s
18   allegation that the Sheriff “rejected his complaint . . . without looking at the proffered medical
19   records and photographs”); Dorger, 2012 WL 3791447, at *5–6 (ratification pleaded by
20   allegations that city delayed investigation and disregarded evidence contradicting officer
21   testimony). Plaintiffs’ allegations reflect conscious, affirmative choices by Moore that show
22   Moore ratified Knight’s actions and knew Knight’s actions risked liability to Moore and the San
23   Joaquin County Sheriff’s Department. Plaintiffs have pleaded Moore’s “ratification conduct, and
24   thus the existence of a de facto policy or custom” to cover up or affect investigations of officers’
25   improper conduct is evidence of Moore’s “post-event conduct, including [his] conduct in an
26   investigation of the incident.” Dorger, 2012 WL 3791447, at *5 (emphasis in original).
27                  Plaintiffs also sufficiently plead causation. Setting aside plaintiffs’ conclusory
28   allegations, see SAC ¶ vii, 76, 97, 111-13, plaintiffs allege Moore “permitted and failed to
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 1   prevent the unconstitutional acts of other [d]efendants and individuals under his supervision and
 2   control . . . with deliberate indifference to the rights of [Keenan],” defining “deliberate
 3   indifference” in part as “the conscious choice to disregard the consequences of one’s acts or
 4   omissions, i.e., that the defendant knew [his] failure to implement adequate policies . . . or
 5   acquiescence in certain longstanding customs or practices made it highly predictable that San
 6   Joaquin County employees would engage in” unconstitutional conduct. Id. ¶¶ 79, 93. These
 7   allegations surpass allegations of a “single failure to discipline,” a “one-time refusal to discipline”
 8   or “a supervisor’s isolated and subsequent ratification of an officer’s conduct” that courts have
 9   rejected as insufficient to plead ratification. See, e.g., Haugen v. Brosseau, 351 F.3d 372, 393
10   (9th Cir. 2003) (“[S]ome municipal pronouncements ratifying a subordinate’s action could be
11   tantamount to the announcement or confirmation of a policy for purposes of Monell . . . .”), rev’d
12   on other grounds, 543 U.S. 194 (2004); Xiong, 2015 WL 4598861, at *30; Jones v. Cty. of
13   Sacramento, No. Civ. 2:09-1025 WBS DAD, 2010 WL 2843409, at *7 (E.D. Cal. July 20, 2010).
14                  The cases on which defendants rely are not persuasive when evaluating a motion
15   to dismiss. See Mot. at 15-16; see, e.g., Brawley v. Punt, 186 F. Supp. 3d 1102, 1116 (C.D. Cal.
16   2016) (granting summary judgment because plaintiff’s ratification argument based “entirely on”
17   police chief’s statement that officer’s use of deadly force was justified and within city’s policy
18   and guidelines); Long v. City & Cty. of Honolulu, 378 F. Supp. 2d 1241, 1242, 1248 (D. Haw.
19   2005), aff’d, 511 F.3d 901 (9th Cir. 2007) (granting summary judgment because “failing to
20   discipline [the officer] (or otherwise having a defective internal affairs investigation policy)” was
21   a theory that failed “for lack of causation” and observing “[e]ven if the after-the-fact internal
22   investigation here was somehow a ‘coverup’ (and there is no such evidence), it would not have
23   prevented the shooting of [Keenan]”). Plaintiffs’ allegations involve more than a single, isolated
24   decision by Moore and include allegations of how Moore’s conduct affected other county
25   employees. See, e.g., SAC ¶¶ 82, 79, 93.
26          D.      Denial of Familial Relationship: Fourteenth Amendment
27                  Defendants contend plaintiffs have failed to allege a Fourteenth Amendment claim
28   for deprivation of familial relationship because plaintiffs’ alleged facts are that Keenan “was a
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 1   bystander,” and Keenan “was hit by a bullet because [Knight] shot negligently.” Mot. at 11-12.
 2   Plaintiffs argue they sufficiently allege a Fourteenth Amendment violation under either the
 3   “purpose to harm” standard or the deliberate indifference standard. Opp’n at 19. For the reasons
 4   below, the court finds plaintiffs sufficiently plead both deliberate indifference and purpose to
 5   harm for their Fourteenth Amendment claim to proceed.
 6                  The Fourteenth Amendment’s substantive due process clause protects against the
 7   arbitrary or oppressive exercise of government power. See Cty. of Sacramento v. Lewis, 523 U.S.
 8   833, 845-46 (1998). “Parents and children may assert Fourteenth Amendment substantive due
 9   process claims if they are deprived of their liberty interest in the companionship and society of
10   their child or parent through official conduct.” Lemire v. Cal. Dept. of Corr. & Rehab., 726 F.3d
11   1062, 1075 (9th Cir. 2013) (citing Wilkinson v. Torres, 610 F.3d 546, 554 (9th Cir. 2010). “[T]he
12   Due Process Clause is violated by executive action only when it can properly be characterized as
13   arbitrary, or conscience shocking, in a constitutional sense.” Lewis, 523 U.S. at 847 (internal
14   quotation marks and citation omitted). The cognizable level of executive abuse of power is that
15   which “shocks the conscience” or “violates the decencies of civilized conduct.” Id. at 846. Mere
16   negligence or liability grounded in tort does not meet the standard for a substantive due process
17   decision. Id. at 848-49.
18                  “Where actual deliberation is practical, then an officer’s ‘deliberate indifference’
19   may suffice to shock the conscience.” Wilkinson, 610 F.3d at 554 (citing Porter v. Osborn, 546
20   F.3d 1131, 1137 (9th Cir. 2008)). But “where a law enforcement officer makes a snap judgment
21   because of an escalating situation, his conduct may only be found to shock the conscience if he
22   acts with a purpose to harm unrelated to legitimate law enforcement objectives.” Id. (citing
23   Porter, 546 F.3d at 1140). In Porter, the Ninth Circuit found actual deliberation was not practical
24   where a five-minute altercation between officers and victim evolved quickly and forced the
25   officers to make “repeated split-second decisions.” 546 F.3d at 1139. As the Ninth Circuit has
26   observed, the Supreme Court has rejected a “narrow” concept of deliberation, rejecting the
27   deliberate indifference standard for high speed chases “even though logically an officer giving
28   chase could deliberate even while accelerating after a suspect.” Id. at 1139-40 (citing Lewis, 523
                                                       21
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 1   U.S. at 851 n.11). “When an officer creates the very emergency he then resorts to deadly force to
 2   resolve, he is not simply responding to a preexisting situation. His motives must then be assessed
 3   in light of the law enforcement objectives that can reasonably be found to have justified his
 4   actions.” Id. at 1141.
 5                  Here, the complaint contains sufficient allegations to infer Knight had an
 6   opportunity to deliberate. Knight was involved in a sale near his residence. SAC ¶¶ 27-28.
 7   “Before firing the shots that killed” Keenan, Knight drew a concealed firearm, “announced his
 8   status as a Deputy Sheriff and yelled ‘get down, get down.’” Id. ¶ 30. But “no one was
 9   brandishing a weapon in view of Knight or pointing a gun at Knight,” Keenan was unarmed,
10   Keenan posed no threat to Knight [or anyone else], Keenan was not resisting arrest and “there
11   was not a serious crime in progress because Knight was a knowing participant in the transaction
12   involving the other individuals present.” Id. ¶¶ 32-36, 42. Police investigators uncovered “no
13   evidence that any other weapon was fired,” and Keenan was walking away from Knight when
14   struck by a bullet from Knight’s firearm. Id. ¶¶ 40-41.
15                  Although Knight’s actions might have occurred in a compressed period of time,
16   plaintiffs’ allegations are of “an officer [who] creates the very emergency he then resorts to
17   deadly force to resolve, [so] he is not simply responding to a preexisting situation.” Porter, 546
18   F.3d at 1141. Knight’s “motives must then be assessed in light of the law enforcement objectives
19   that can reasonably be found to have justified his actions.” Id. Here, plaintiffs allege an absence
20   of legitimate law enforcement objectives in the use of force despite what may be construed as an
21   escalating situation in another light. See SAC ¶¶ 28, 98, 107. Plaintiffs allege Knight engaged in
22   an illicit transaction before invoking his law enforcement status and firing at Keenan. Id. ¶¶ 28,
23   30-31, 98 (“Knight was engaged in sales on the black market and illicit and ultra vires dealings
24   with police informants.”). Plaintiffs sufficiently plead Knight’s deliberate indifference by his
25   creation of the very emergency his use of deadly force was intended to resolve. Plaintiffs also
26   sufficiently plead that Knight acted with a purpose to harm because his conduct was not related to
27   legitimate law enforcement objectives. See also id. ¶ 58 (Knight stating to someone “that he had
28   shot at four individuals, that he hit two and that three got away”); id. ¶ 107 (Knight’s acts “were
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 1   perpetrated with a purpose to harm [Keenan] for reasons unrelated to legitimate law enforcement
 2   objectives, as they related to illicit and ultra vires dealings with government informants.”).
 3                  Although as noted plaintiffs plead “Knight fired the firearm recklessly,” SAC ¶ 37,
 4   “deliberate or reckless indifference” is sufficient where the defendant also had time to deliberate.
 5   See Wilkinson, 610 F.3d at 554; Porter, 546 F.3d at 1137-40. As the court has observed above,
 6   plaintiffs remain free to plead alternative theories of liability. See Unified Western Grocers, Inc.,
 7   457 F.3d at 1112.
 8                  Defendants’ citation to Rodriguez, 819 F. Supp. 2d at 949, does not alter the
 9   court’s conclusion. There, in analyzing plaintiff’s Fourteenth Amendment claim, the court
10   emphasized “it is important that the court maintain its focus on [the officer’s] actions” as to
11   plaintiff, not the intended target of the officer’s fired shots. Id. But as discussed previously,
12   unlike the unintended shooting of the plaintiff in Rodriguez, plaintiffs here have not alleged
13   Knight shot negligently or shot Keenan while aiming at someone else. Instead, plaintiffs allege
14   Knight intentionally shot at Keenan, among others. See SAC ¶¶ 30-31, 58 (Knight stating to
15   someone “that he had shot at four individuals, that he hit two and that three got away”).
16                  The court DENIES defendants’ motion to dismiss plaintiffs’ Fourteenth
17   Amendment claim.
18            E.    Bane Act Standing and Pleading Sufficiency
19                  Defendants primarily argue plaintiffs do not sufficiently allege the specific intent
20   required for a Bane Act claim and further contest plaintiffs’ standing in a footnote. Mot. at 20 &
21   n.9. Plaintiffs contend they properly plead specific intent. Opp’n at 23. For the reasons below,
22   the court finds plaintiffs have standing to bring the claim as a survival action and sufficiently
23   plead specific intent, but are precluded from using the Bane Act as a basis for their derivative
24   claim.
25                  The Bane Act prohibits any person from interfering by “threats, intimidation or
26   coercion . . . with the exercise or enjoyment by any individual . . . of rights secured by the
27   Constitution . . . .” Cal. Civ. Code § 52.1(a). The Bane Act does not contain “a wrongful death
28   provision” and “does not provide derivative liability for the parents of a victim of a hate crime, or
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 1   for any other persons not present and not witnessing the actionable conduct.” Medrano v. Kern
 2   County Sheriff’s Officer, 921 F. Supp. 2d 1009, 1015-16 (E.D. Cal. 2013) (citing Bay Area Rapid
 3   Transit Dist. v. Superior Court, 38 Cal. App. 4th 141, 144 (1995)). Although the Bane Act
 4   provides standing for properly pleaded survival actions, it does not provide standing for a
 5   wrongful death cause of action. Id.
 6                  “[T]he egregiousness required by [the Bane Act] is tested by whether the
 7   circumstances indicate the arresting officer had a specific intent to violate the arrestee’s right to
 8   freedom from unreasonable seizure.” Reese v. County of Sacramento, 888 F.3d 1030, 1043 (9th
 9   Cir. 2018) (quoting Cornell v. City & Cty. of San Francisco, 17 Cal. App. 5th 799, 801 (2017)).
10   The Ninth Circuit has found the Cornell court “adopted the specific intent standard established in
11   Screws v. United States, 325 U.S. 91 . . . (1945).” Reese, 88 F.3d at 1043. Under the Screws
12   specific intent standard for an excessive force violation, “a mere intention to use force that the
13   jury ultimately finds unreasonable—that is, general criminal intent—is insufficient . . . .” United
14   States v. Reese, 2 F.3d 870, 885 (9th Cir. 1993). A reckless disregard for a person’s constitutional
15   rights is evidence of a specific intent to deprive that person of those rights. Reese, 888 F.3d at
16   1045 (citing Reese, 2 F.3d at 885).
17                  By alleging Knight intentionally or recklessly shot at Keenan, plaintiffs
18   sufficiently plead Knight’s specific intent to deprive Keenan of his constitutional rights. SAC
19   ¶¶ 30-31, 58 (“Knight stated to someone . . . that he had shot at four individuals, that he hit two
20   and that three got away.”)); id. ¶ 37 (“Knight fired the firearm recklessly.”); id. ¶ 92 (Knight’s
21   conduct “was willful, fraudulent, malicious, oppressive and in reckless disregard of the
22   constitutional rights of [Keenan] . . . .”); id. ¶ 102 (Knight “acted maliciously, fraudulently,
23   oppressively, and in reckless and callous disregard for the constitutional rights of [Keenan] by
24   unlawfully subjecting [Keenan] to deadly force . . . .”). But because the Bane Act does not supply
25   standing for derivative claims, plaintiffs lack standing to bring the claim by asserting the
26   Fourteenth Amendment violation and wrongful death action. To the extent plaintiffs have alleged
27   any derivative Bane Act claim, the court GRANTS defendants’ motion to dismiss that derivative
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 1   Bane Act claim without leave to amend, but otherwise DENIES defendants’ motion as to
 2   plaintiffs’ Bane Act claim.
 3                  Defendants have asserted plaintiffs cannot plead conspiracy to violate the Bane
 4   Act “because of the established rule that there is no claim for conspiracy between an agent and his
 5   principal.” Mot. at 20 (citing Gruenberg v. Aetna Ins. Co., 9 Cal.3d 566, 576 (1973)). But that
 6   rule applies to “non-insurer defendants” who were “agents and employees of the defendant
 7   insurers” involving a claim for breach of the implied covenant of good faith and fair dealing, not
 8   a constitutional tort. Additionally, plaintiffs’ pleading that “defendants conspired to perpetrate
 9   the acts that they perpetrated in violation of the Bane Act” does not necessarily indicate an agent-
10   employee relationship. Regardless, multiple courts have rejected defendants’ arguments that
11   “under California law, one cannot be held liable for conspiring to violate [the Bane Act].”
12   Warner v. Cty. of San Diego, No. 10CV1057 BTM(BLM), 2011 WL 662993, at *3 n.1 (S.D. Cal.
13   Feb. 14, 2011) (collecting cases); Allen v. Cty. of Lake, No. 14-cv-03934-TEH, 2015 WL 434990,
14   at *7 (N.D. Cal. Feb. 2, 2015) (“[C]ourts have repeatedly recognized a cause of action
15   for conspiracy to violate the Bane Act.”).
16          F.      Keenan Bradley, Sr.’s Compliance with California’s Government Claims Act
17                  Defendants assert that plaintiff Keenan Bradley, Sr. did not comply with the
18   Government Claims Act, precluding his state law claims. Mot. at 18-19. Plaintiffs concede as
19   much, which has the effect of barring his state law claims. Opp’n at 25-26. Plaintiffs also
20   concede Bradley, Sr. cannot cure this defect. Id. The court therefore GRANTS defendants’
21   motion to dismiss Bradley, Sr.’s state law claims without leave to amend. See Cafasso, 637 F.3d
22   at 1058 (district court was “well within its discretion to deny leave to amend” where amendment
23   was futile).
24          G.      Denial of Medical Care: State Law Claim
25                  Defendants argue plaintiffs’ denial of medical care claim should be dismissed
26   because plaintiffs have not alleged sufficient facts to support that claim. Mot. at 21. Plaintiffs
27   concede California Government Code section 845.6 does not apply here because Keenan was not
28   an inmate or prisoner at the time of the incident, a required condition for the statute to apply.
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 1   Opp’n at 24-25. But plaintiffs do contend the second amended complaint alleges sufficient facts
 2   to indicate they may properly plead the claim under the Fourth Amendment theory discussed in
 3   Tatum v. City and County of San Francisco, 441 F.3d 1090, 1098-99 (9th Cir. 2006) (citing City
 4   of Revere v. Mass. Gen. Hosp., 463 U.S. 239, 244 (1983) (Due Process Clause requires provision
 5   of medical care to a person injured while being apprehended)). See SAC ¶¶ 52-53, 57, 59, 60
 6   (alleging Knight did not summon medical aid for Keenan “urgently,” Knight did not render aid to
 7   Keenan himself and Knight “failed to call for medical aid and delayed calling for medical aid”).
 8   “Due process requires that police officers seek the necessary medical attention for a detainee
 9   when he or she has been injured while being apprehended by either promptly summoning the
10   necessary medical help or by taking the injured detainee to a hospital.” Maddox v. City of Los
11   Angeles, 792 F.2d 1408, 1415 (9th Cir. 1986) (citing Revere, 463 U.S. at 245).
12                  Because plaintiffs’ alleged facts indicate Knight failed to render medical aid or
13   summon medical aid for Keenan for some period of time, the court grants plaintiffs leave to
14   amend the complaint to focus their allegations so as to maintain a proper claim based on this
15   conduct. See Fed. R. Civ. P. 15(a)(2) (“The court should freely give leave when justice so
16   requires.”). The court therefore GRANTS defendants’ motion to dismiss this claim with leave to
17   amend.
18   IV.      CONCLUSION
19                  For the reasons set forth above, the court GRANTS defendants’ motion to dismiss
20   in part and DENIES it in part as follows:
21                  1.     Defendants’ motion to dismiss plaintiffs’ Fourth Amendment claim is
22   DENIED;
23                  2.     Defendants’ motion to dismiss plaintiffs’ Fourteenth Amendment claim is
24   DENIED;
25                  3.     Defendants’ motion to dismiss plaintiffs’ federal municipal liability claim
26   is DENIED, but plaintiffs are granted leave to amend their claims to state additional theories of
27   municipal liability if they can, while complying with Federal Rule of Civil Procedure 11;
28   /////
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 1                  4.      Defendants’ motion to dismiss plaintiffs’ state law claims against the
 2   County based on Knight’s acting outside his scope of employment is DENIED;
 3                  5.      Defendants’ motion to dismiss plaintiffs’ Bane Act claim is GRANTED in
 4   part without leave to amend to the extent it is brought as a derivative claim, but otherwise is
 5   DENIED;
 6                  6.      Defendants’ motion to dismiss plaintiff Keenan Bradley Sr.’s state law
 7   claims is GRANTED without leave to amend;
 8                  7.      Defendants’ motion to dismiss plaintiffs’ denial of medical care state law
 9   claim is GRANTED with leave to amend; and
10                  8.      Plaintiffs must file any amended complaint within 14 days.
11                  IT IS SO ORDERED.
12                  This resolves ECF No. 31.
13   DATED: August 23, 2018.
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15                                              UNITED STATES DISTRICT JUDGE
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